
670 S.E.2d 236 (2008)
STATE of North Carolina
v.
Johnny W. ALLDRED, III.
No. 491P08.
Supreme Court of North Carolina.
December 11, 2008.
Johnny W. Alldred, III, Pro Se.
Daniel P. O'Brien, Assistant Attorney General, C. Branson Vickory, III, District Attorney, for State of NC.


*237 ORDER

Upon consideration of the petition filed by Defendant on the 3rd day of November 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Greene County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 11th day of December 2008."
Upon consideration of the petition filed by Defendant on the 3rd day of November 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 11th day of December 2008."
